            Case 2:14-cr-00264-APG-VCF          Document 74        Filed 07/17/15      Page 1 of 2




1
                              UNITED STATES DISTRICT COURT
2
                                          DISTRICT OF NEVADA
3
                                                    ***
4
     UNITED STATES OF AMERICA,                         )      Case No.: 2:14-cr-00264-APG-VCF
5                                                      )
                             Plaintiff,                )
6                                                      )      ORDER DENYING APPEAL OF
              vs.                                      )      DETENTION ORDER
7                                                      )
     TYRAL EDWARD KING,                                )      (Dkt. #56)
8                                                      )
                             Defendant.                )
9                                                      )

10
              Magistrate Judge Ferenbach ordered defendant Tyral King detained pending trial. (Dkt.
11
     #7.) King moved for reconsideration of that order, and Magistrate Judge Foley denied the
12
     motion. (Dkt. #36). King filed an Appeal (Dkt. #56) from Magistrate Judge Foley’s Order.
13

14
              A defendant may appeal an Order of detention to the district court having original

15
     jurisdiction over the offense. 18 U.S.C. § 3145(b). The court reviews the Magistrate Judge’s

16
     order de novo. United States v. Koenig, 912 F.2d 1190, 1192-93 (9th Cir.1990). Under 18 U.S.C.

17   § 3142(g), the court must consider four factors in determining whether to detain or release a

18   defendant: “(1) the nature and circumstances of the offense charged, including whether the

19   offense is a crime of violence or involves a narcotic drug; (2) the weight of the evidence against

20   the person; (3) the history and characteristics of the person; and (4) the nature and seriousness of

21   the danger to any person or the community should the person be released.” United States v.

22   Chen, 820 F. Supp. 1205, 1207 (N.D. Cal. 1992).

23   ////

24   ////

25   ////

26   ////


                                                      1
         Case 2:14-cr-00264-APG-VCF           Document 74        Filed 07/17/15     Page 2 of 2




1           I have conducted a de novo review of the appeal and all related filings. After considering
2    the 3142(g) factors, I agree with Magistrate Judges Ferenbach and Foley that King should remain
3    detained pending trial. Therefore, Judge Foley’s decision (Dkt. #36) is affirmed and King’s
4    appeal (Dkt. #56) is DENIED.
5           DATED this 17TH day of July, 2015.
6
                                                         ____________________________________
7                                                        ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


                                                    2
